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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

LEONARD W. PFROMMER,                     )
                                         )
      Plaintiff                          )
                                         )
vs.                                      )       Case No. CV 08-HGD-1121-NE
                                         )
LVNV FUNDING, LLC, et al.,               )
                                         )
      Defendants                         )

                             DISMISSAL ORDER

      Plaintiff has filed a Motion to Dismiss the Case Due to Settlement. (Doc. No.

7).   It is ORDERED, ADJUDGED and DECREED that plaintiff’s motion is

GRANTED, and this action is DISMISSED with prejudice. Each party shall bear its

own costs and expenses.

      DONE this 29th day of August, 2008.



                                         ______________________________
                                         United States District Judge
